                                  UNITED STATES DISTRICT COURT
                                              for the
                               EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Steven Nathan McKoy                                                 Docket No. 7:19-CR-157-2FL

                          Petition for Action on Conditions of Pretrial Release

COMES NOW Cierra M. Wallace, U.S. Probatio~ Officer of the court, presenting an official report upon
the conduct of defendant, Steven Nathan McKoy, who, was placed under pretrial release supervision by the
Honorable Robert B. Jones, U.S. Magistrate Judge, sitting in the Court at Wilmington, on the 31st day of
October, 2019.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

On May 19, 2020, McKoy submitted to a drug test which revealed a positive reading for cocaine. When
confronted with the positive test, McKoy did not admit to use. However, on May 20, 2020, he admitted to
the use of cocaine. McKoy was admonished for his behavior and agreed to participate in mandatory
substance abuse treatment and continued drug testing. The defendant signed a Waiver of Hearing agreeing
to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that pretrial release be modified as follows:

Participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the
probation office or supervising officer.

Except as herein modified, the conditions of pretrial release shall remain in full force and effect.

Reviewed and approved,                                 I declare under penalty of perjury that the foregoing
                                                       is true and correct.


Isl David W. Leake                                     Isl Cierra M. Wallace
David W. Leake                                         Cierra M. Wallace
Supervising U.S. Probation Officer                     U.S. Probation Officer
                                                       414 Chestnut Street, Suite 102
                                                       Wilmington, NC 28401-4290
                                                       Phone:910-679-2034
                                                       Executed On: May 20, 2020

                                        ORDER OF THE COURT

Considered and ordered this ,.efD                       ______, 2020, and ordered filed and
                                         day of ~/1Z_ey_,_
made a part of the records in the above case.


RobertB~
    t..?                   .
U.S. Magistrate Judge



                Case 7:19-cr-00157-FL Document 52 Filed 05/20/20 Page 1 of 1
